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		OSCN Found Document:IN RE CREATION OF RULE 1.18 OF OKLAHOMA SUPREME COURT RULES

					

				
  



				
					
					
						
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				IN RE CREATION OF RULE 1.18 OF OKLAHOMA SUPREME COURT RULES2019 OK 38Decided: 05/20/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 38, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

In re: Creation of Rule 1.18 of the Oklahoma Supreme Court Rules Concerning Prisoner Filings
ORDER
Rule 1.18 of the Oklahoma Supreme Court Rules, as shown on the attached Exhibit "A", is hereby created, effective immediately.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 20th day of May, 2019.
/S/VICE CHIEF JUSTICE
Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert and Combs, JJ., concur.

&nbsp;
Exhibit "A"
RULE 1.18 - PRISONER FILINGS, FRIVOLOUS OR MALICIOUS APPEALS AND ORIGINAL ACTIONS
A prisoner who has, on three or more prior occasions, while incarcerated or detained in any facility, or while on probation or parole, brought an action or appeal in a court of this state or a court of the United States that has been dismissed on the grounds that the case was frivolous, or malicious, or failed to state a claim upon which relief could be granted, may not proceed in a matter arising out of a civil case, or upon an original action or on appeal without prepayment of all fees required by law, unless the prisoner is under immediate danger of serious physical injury. 57 O.S. § 566.2(A).
The court administrator of the Oklahoma courts shall maintain a registry of those prisoners who have had any cases dismissed as frivolous or malicious or for failure to state a claim upon which relief can be granted. 57 O.S. § 566.2(8). When a prisoner files an appeal or original action, the Clerk of the Supreme Court shall check the prisoner's name with the Registry of Frivolous or Malicious Appeals to determine if that prisoner already appears three or more times on the Registry.
When a prisoner who appears three or more times on the Registry of Frivolous or Malicious Appeals initiates an original action or an appeal filed with the Supreme Court without prepayment of all fees required by law, the Clerk shall file and docket the original action or appeal and forward the filings to the Chief Justice for review.
The Supreme Court will direct the prisoner to show cause why the matter should be allowed to proceed without prepayment of all fees as required by law. 57 O.S. § 566.2(A). If the prisoner fails to show adequate cause, the matter shall be summarily dismissed by order of the Chief Justice.





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